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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                                    CRIMINAL ACTION NO. 3:07CR154-P-A

ALI TAHER OBAD,                                                               DEFENDANT.

                                              ORDER

        This matter comes before the court upon Defendant Ali Taher Obad’s motion for a hearing

pursuant to U.S. v. James, 590 F.2d 575 (5th Cir. 1979) [107]. After due consideration of the motion

and the responses filed thereto, the court finds as follows, to-wit:

        The motion should be denied insofar as it seeks a separate James hearing outside the presence

of the jury prior to trial to determine whether statements by a coconspirator are admissible. As the

Fifth Circuit noted in U.S. v. Fragaso, 978 F.2d 896, 899 (5th Cir. 1992), the Supreme Court in

Bourjaily v. United States, 483 U.S. 171 (1987) “the court need not hold a James hearing outside the

jury’s presence.” In fact, the Fifth Circuit in Fragaso observed that “James has never required a

hearing outside the presence of the jury.” Id. at 899. The decision in “Bourjaily ‘swept’ away a major

portion of our James decision.” Id. at 899.

        However, during trial, the court recognizes that it must “whenever reasonably practical,

require the showing of a conspiracy and of the connection of the defendant with it [pursuant to

Federal Rule of Evidence 801(d)(2)(E)] before admitting declarations of a coconspirator.” Fragaso,

978 F.2d at 900. In complying with Rule 801(d)(2)(E), the court must determine whether there is

sufficient “evidence that there was a conspiracy involving the declarant and the nonoffering party,

and that the statement was made ‘during the course and in furtherance of the conspiracy.’” Id. at 899


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(quoting Bourjaily, 483 U.S. at 175).

       IT IS THEREFORE ORDERED AND ADJUDGED that Defendant Ali Taher Obad’s

motion for a hearing pursuant to U.S. v. James, 590 F.2d 575 (5th Cir. 1979) [107] is DENIED as

explained above.

       SO ORDERED this the 9th day of October, A.D., 2008.


                                                          /s/ W. Allen Pepper, Jr.
                                                          W. ALLEN PEPPER, JR.
                                                          UNITED STATES DISTRICT JUDGE




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